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Attorney for Defendant
DIANA HERNANDEZ-GONZALEZ




                           IN THE UNITED STATES DISTRICT COURT

                          FOR THE EASTERN DISTRICT OF CALIFORNIA




UNITED STATES OF AMERICA,
               Plaintiff,                                 2:11-cr-00096 JAM
     vs.
                                                  REQUEST FOR ORDER AND ORDER TO
DIANA HERNANDEZ-GONZALEZ,                         EXONERATE PROPERTY BOND
                                                      AND RECONVEY REAL PROPERTY
                      Defendant(s).



                                                          Hon. John A. Mendez




       On April 8, 2014, Diana Hernandez-Gonzalez was sentenced to serve a year and a day in the

custody of the Bureau of Prisons. She is now serving that sentence.

       On February 22, 2011, the defendant was ordered released on a secured bond. It is hereby

requested that the bond, secured by a deed of trust, be exonerated, and that the Clerk by directed to

reconvey the real property to its owner.

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Dated: August 26, 2014

                                                     Respectfully submitted,


                                                 /s/ Hayes H. Gable, III
                                                 HAYES H. GABLE, III
                                                 Attorney for Defendant
                                                 DIANA HERNANDEZ-GONZALEZ
                                             ORDER

       IT IS HEREBY ORDERED that the $200,000 bail secured by a deed of trust and

appearance bond relating to the property at 15425 Mayall Street, Mission Hills, California 91345, be

exonerated.

       IT IS FURTHER ORDERED that the real property be reconveyed to Sixto Hernandez and

Casiana Hernandez, husband and wife, as Joint Tenants.

Dated: 8/26/2014

                                                     /s/ John A. Mendez______
                                                     HON. JOHN A. MENDEZ
                                                     U.S. District Court Judge




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